                                                               IN THE UNITED STATES BANKRUPTCY COURT
                                                               FOR THE NORTHERN DISTRICT OF ALABAMA

 Fill in this information to identify your case:
 Debtor 1               Michael E Cross                                                                       Check if this is an amended plan
                              Name: First           Middle                 Last                               Amends plan dated:
 Debtor 2
 (Spouse, if filing)          Name: First           Middle                 Last


 Case number:
 (If known)




Chapter 13 Plan

 Part 1:      Notices

To Debtor(s):              This form sets out options that may be appropriate in some cases, but the presence of an option on the form does not
                           indicate that the option is appropriate in your circumstances. Plans that do not comply with local rules, administrative
                           orders, and judicial rulings may not be confirmable.

                           In the following notice to creditors, you must check each box that applies. Your failure to check a box that applies renders
                           that provision ineffective.

To Creditors:              Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.

                           You should read this plan carefully and discuss it with your attorney, if you have one in this bankruptcy case. If you do not have
                           an attorney, you may wish to consult one.

                           If you oppose the plan's treatment of your claim or any provision of this plan, you or your attorney must file an objection to
                           confirmation at least 7 days before the confirmation hearing, unless otherwise ordered. The Bankruptcy Court may confirm this
                           plan without further notice if no objection to confirmation is made. See Bankruptcy Rule 3015. In addition, a proper proof of
                           claim must be filed in order to be paid under this plan.

                           The following matters may be of particular importance to you. Debtor(s) must check each box that applies. Debtor(s)' failure to
                           check a box that applies renders that provision ineffective.


                              The plan seeks to limit the amount of a secured claim, as set out in Part 3, § 3.2, which may result in a partial payment
                           or no payment at all to the secured creditor.

                              The plan requests the avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest as set out in
                           Part 3, § 3.4.

                               The plan sets out nonstandard provision(s) in Part 9.

 Part 2:      Plan Payments and Length of Plan

2.1           Debtor(s) will make regular payments to the trustee as follows:

              $1628 per Month for 60 months

              Debtor(s) shall commence payments within thirty (30) days of the petition date.

2.2           Regular payments to the trustee will be made from future income in the following manner (check all that apply):

                          Debtor(s) will make payments pursuant to a payroll deduction. Debtor(s) request a payroll deduction be issued to:

                          Debtor(s) will make payments directly to the trustee.
                          Other (specify method of payment)


2.3           Income tax refunds and returns. Check one.
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                          Debtor(s) will retain any income tax refunds received during the plan term.

                          Debtor(s) will supply the trustee with a copy of each income tax return filed during the plan term within 14 days of filing the
                          return and will turn over to the trustee income tax refunds received during the plan term, if any.

                          Debtor(s) will treat income tax refunds as follows:


                          Debtor(s) believe they are not required to file income tax returns and do not expect to receive tax refunds during the plan term.

2.4          Additional Payment Check all that apply.
                     None. If “None” is checked, the rest of § 2.4 need not be completed or reproduced.

2.5           Adequate Protection Payments

             Any adequate protection payments shall be made as part of this plan; see Part 3 or Part 9 for details. The secured creditor must file a proof
             of claim in order to receive payment. Unless otherwise ordered, adequate protection payments through the trustee shall be made as funds
             are available after the proof of claim is properly filed.

 Part 3:      Treatment of Secured Claims

3.1          Maintenance of payments and cure of defaults, if any, on long-term secured debts. Check one.

                          None. If “None” is checked, the rest of § 3.1 need not be completed or reproduced.
                          Debtor(s) or trustee will maintain the current contractual installment payments on the secured claims listed below. These
                          payments will be disbursed either by the trustee or paid directly by Debtor(s), as specified below. Any existing arrearage on a
                          listed claim will be paid in full through disbursements by the trustee. Unless otherwise ordered, the amounts listed on a proof of
                          claim, amended proof of claim, or notice of payment change control over any contrary amounts listed below as to the estimated
                          amount of the creditor’s total claim, current installment payment, and arrearage.
                                                                      Current
                                                 Estimated                                                                                   Monthly Fixed
                                                                    Installment        Amount of            Months         Monthly Fixed
      Name of                                    Amount of                                                                                     Payment on
                              Collateral                              Payment          Arrearage          Included in       Payment on
      Creditor                                   Creditor's                                                                                   Arrearage to
                                                                     (including          (if any)          Arrearage         Arrearage
                                                Total Claim                                                                                       Begin
                                                                       escrow)

 Shellpoint               3460 Gazaway                  $143,022.00 $731.00            $20,000.00           27 MONTHS    $333.33              CONF
 Mortgage                 Street                                    Disbursed by:
 Servicing                Gadsden, AL                               Trustee
                          35903                                     To Begin:
                          Etowah                                    JUNE
                          County

3.2          Request for valuation of security, claim modification, and hearing on valuation. Check one.

                          None. If “None” is checked, the rest of § 3.2 need not be completed or reproduced.

3.3          Secured claims excluded from 11 U.S.C. § 506 and fully secured claims. Check one.

                          None. If “None” is checked, the rest of § 3.3 need not be completed or reproduced.
                          The claims listed below:
                                1. were incurred within 910 days before the petition date and secured by a purchase money security interest in a motor
                                   vehicle acquired for the personal use of Debtor(s), or
                                2. were incurred within 1 year of the petition date and secured by a purchase money security interest in any other thing of
                                   value, or
                                3. are fully secured.
                          These claims will be paid in full under the plan with interest at the rate stated below. These payments will be disbursed by the
                          trustee as specified below. Unless otherwise ordered, the status and amount stated on a proof of claim or amended proof of claim
                          controls over any contrary amount listed below as to the estimated amount of the creditor's total claim, but the interest rate is
                          controlled by the plan.

                          The holder of any claim listed below will retain the lien until the earlier of:

                                 (a) payment of the underlying debt determined under nonbankruptcy law, or

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                                 (b) discharge under 11 U.S.C. § 1328(a), at which time the lien will terminate and be released by the creditor.

                                  Monthly                     Estimated
                                                                                                                       Monthly Fixed           Monthly Fixed
                                  Adequate                    Amount of                    Value of       Interest
 Name of Creditor                                                            Collateral                                 Payment to              Payment to
                                 Protection                Creditor's Total                Collateral       Rate
                                                                                                                         Creditor                 Begin
                                  Payment                       Claim
 BB&T/Truist                  $45.05                       $4,505.00        2013          $6,909.00      5.25%       $85.53                 CONF
                                                                            HONDA
                                                                            ACCORD

3.4          Section 522(f) judicial lien and nonpossessory, nonpurchase-money ("Non-PPM") security interest avoidance. Check all that apply.

                          None. If “None” is checked, the rest of § 3.4 need not be completed or reproduced.

3.5          Surrender of collateral. Check one.

                          None. If “None” is checked, the rest of § 3.5 need not be completed or reproduced.

 Part 4:      Treatment of Fees and Priority Claims

4.1          General

Trustee’s fees will be paid in full. Except as set forth in § 4.5, allowed priority claims also will be paid in full, without interest.

4.2          Chapter 13 case filing fee. Check one.

                  Debtor(s) intend to pay the Chapter 13 case filing fee through the plan.
                  Debtor(s) intend to pay the Chapter 13 case filing fee directly to the Clerk of Court.

4.3          Attorney's fees.

             The total fee requested by Debtor(s)’ attorney is $3,500.00. The amount of the attorney fee paid prepetition is $500.00.
             The balance of the fee owed to Debtor(s)’ attorney is $3,000.00, payable as follows (check one):

                  $ at confirmation and $ per month thereafter until paid in full, or
                  in accordance with any applicable administrative order regarding fees entered in the division where the case is pending.

4.4          Priority claims other than attorney’s fees and domestic support obligations. Check one.

                    None. If “None” is checked, the rest of § 4.4 need not be completed or reproduced.
                    The other priority claims are listed below. Unless otherwise ordered, the amount of the creditor's priority claim listed on the
                    proof of claim or amended proof of claim controls over any contrary amount listed below.
                                         Estimated Amount of Claim to        Monthly Fixed Payment, if any, Monthly Fixed Payment, if any,
            Name of Creditor
                                                      be Paid                           to Creditor                               to Begin
 IRS                                   $3,261.00                                                         $54.35 CONF

4.5          Domestic support obligations. Check one.

                          None. If “None” is checked, the rest of § 4.5 need not be completed or reproduced.



 Part 5:      Treatment of Nonpriority Unsecured Claims

5.1          Nonpriority unsecured claims not separately classified.

             Allowed nonpriority unsecured claims that are not separately classified will be paid pro rata.

5.2          Percentage, Base, or Pot Plan. Check one.

                          100% Repayment Plan. This plan proposes to pay 100% of each allowed nonpriority unsecured claim.

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                          Percentage Plan. This plan proposes to pay        % of each allowed nonpriority unsecured claim.
                          Pot Plan. This plan proposes to pay $     , distributed pro rata to holders of allowed nonpriority unsecured claims.
                          Base Plan. This plan proposes to pay $ 97,680.00 to the trustee (plus any tax refunds, lawsuit proceeds, or additional
                          payments pursuant to §§ 2.3 and 2.4). Holders of allowed nonpriority unsecured claims will receive the funds remaining, if any,
                          after disbursements have been made to all other creditors provided for in this plan

5.3          Interest on allowed nonpriority unsecured claims not separately classified. Check one.
                       None. If “None” is checked, the rest of § 5.3 need not be completed or reproduced.

5.4          Maintenance of payments and cure of any default on long-term nonpriority unsecured claims. Check one.

                          None. If “None” is checked, the rest of § 5.4 need not be completed or reproduced.

5.5          Other separately classified nonpriority unsecured claims. Check one.

                          None. If “None” is checked, the rest of § 5.5 need not be completed or reproduced.

 Part 6:      Executory Contracts and Unexpired Leases

6.1          The executory contracts and unexpired leases listed below are assumed, will be treated as specified, and any defaults cured.
             Check one.

                          None. If “None” is checked, the rest of § 6.1 need not be completed or reproduced.



6.2          The executory contracts and unexpired leases listed below are rejected: Check one.

                          None. If “None” is checked, the rest of § 6.2 need not be completed or reproduced.



 Part 7:      Sequence of Payments

7.1          Unless otherwise ordered, the trustee will make the monthly payments required in Parts 3 through 6 in the sequence of payments
             set forth in the administrative order for the division in which this case is pending.

 Part 8:      Vesting of Property of the Estate

8.1          Property of the estate will vest in Debtor(s) (check one):

              Upon plan confirmation.

              Upon entry of Discharge

 Part 9:      Nonstandard Plan Provisions

                          None. If “None” is checked, the rest of Part 9 need not be completed or reproduced.

                          Nonstandard provisions. Nonstandard provisions are required to be set forth below. Nonstandard provisions set out elsewhere
                          in this plan are ineffective. A nonstandard provision is a provision not otherwise included in this district’s Local Form or
                          deviating from it. These plan provisions will be effective only if the applicable box in Part 1 of this plan is checked.


 DEBTOR OFFERS PROCEEDS FROM LAWSUIT TO TRUSTEE

 Part 10: Signatures:

Signature(s) of Debtor(s) required.

Signature(s) of Debtor(s) (required):



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 X     /s/ Michael E Cross                                                              Date    May 2, 2022
       Michael E Cross

 X                                                                                      Date


Signature of Attorney for Debtor(s):
 X /s/ John W. Jennings, Jr.                                                   Date   May 2, 2022
     John W. Jennings, Jr.
     JENNINGS AND MESSER, P.C.
     111 SOUTH 10TH STREET
     Gadsden, AL 35901
     256.547.8886

Name/Address/Telephone/Attorney for Debtor(s):

By filing this document, Debtor(s), if not represented by an attorney, or the Attorney for Debtor(s) certif(ies) that the wording and order of
the provisions in this Chapter 13 plan are identical to those contained in this district’s Local Form, other than any nonstandard provisions
included in Part 9.




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